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 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                   2:17-CR-095 TLN
10
                      Plaintiff,                 COURT: Hon. Troy L. Nunley
11                                               DATE: March 28, 2019
           v.                                    TIME: 9:30 a.m.
12
     STEVEN SACHAROW,
13                                              STIPULATION AND ORDER
                      Defendant                 REGARDING EXCLUDABLE
14                                              TIME PERIODS UNDER SPEEDY
                                                TRIAL ACT
15

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17
          The United States of America through its undersigned counsel, James Conolly,
18

19   Assistant United States Attorney, together with undersigned counsel for defendant
20   defendant hereby stipulate the following:
21
           1. By previous order, this matter was set for status conference on February
22
     21, 2019.
23
           2. By this stipulation, the defendants now move to continue the status
24   conference until March 28, 2019, at 9:30 a.m., and to exclude time between
25   February 21, 2019 and March 28, 2019 under the Local Code T-4 (to allow defense
     counsel time to prepare).
26

27         3. The parties agree and stipulate, and request the Court find the following:
           a. Initially, the government provided discovery containing investigative
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 1   reports, as well as DVDs containing numerous audio and video recordings.
 2
           b. Counsel for the defendant needs additional time to review the discovery,
 3   conduct investigation, interview potential witnesses, and discuss USSG calculations
 4   and possible resolution scenarios with her client.

 5         c. Counsel for the defendant believes the failure to grant a continuance in this
 6   case would deny defense counsel reasonable time necessary for effective
     preparation, taking into account the exercise of due diligence.
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 8
           d. The government does not object to the continuance.

 9          e. Based on the above-stated findings, the ends of justice served by granting
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     the requested continuance outweigh the best interests of the public and the
     defendants in a speedy trial within the original date prescribed by the Speedy Trial
11   Act.
12
            f. For the purpose of computing time under the Speedy Trial Act, 18 United
13   States Code Section 3161(h)(7)(A) within which trial must commence, the time
     period of February 21, 2019 to March 28, 2019, inclusive, is deemed excludable
14
     pursuant to 18 United States Code Section 3161(h)(7)(A) ) and (B)(iv),
15   corresponding to Local Code T-4 because it results from a continuance granted by
     the Court at the defendants' request on the basis of the Court’s finding that the ends
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     of justice served by taking such action outweigh the best interest of the public and
17   the defendants in a speedy trial.
18
           4. Nothing in this stipulation and order shall preclude a finding that other
19   provisions of the Speedy Trial Act dictate that additional time periods are
20
     excludable from the period within which a trial must commence.

21   IT IS SO STIPULATED.
22

23   Date: February 19. 2019                              Respectfully submitted,
24                                                        /s/ Shari Rusk
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                                                          SHARI RUSK
26                                                        Attorney for Defendant
                                                          Steven Sacharow
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 1                                                 McGregor Scott
 2                                                 United States Attorney
                                                   James Conolly______________
 3                                                 by: /s/ James Conolly
 4                                                 Assistant U.S. Attorney

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 6
                                 ORDER
 7
          IT IS SO ORDERED.
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     Dated: February 20, 2019
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                                                   Troy L. Nunley
10                                                 United States District Judge
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